    Case 5:21-cr-00009-LGW-BWC Document 607 Filed 06/14/23 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION

UNITED STATES OF AMERICA       )
                               )
v.                             )                    CASE NO 5:21-CR-009
                               )
MARIA LETICIA PATRICIO,        )
DANIEL MENDOZA,                )
NERY RENE CARRILLO-NAJARRO,    )
ANTONIO CHAVEZ RAMOS,          )
JC LONGORIA CASTRO,            )
ENRIQUE DUQUE TOVAR,           )
CHARLES MICHAEL KING,          )
STANLEY NEAL MCGAULEY,         )
LUIS ALBERTO MARTINEZ,         )
DELIA IBARRA ROJAS,            )
JUANA IBARRA CARRILLO,         )
DONNA MICHELLE ROJAS,          )
MARGARITA ROJAS CARDENAS,      )
JUAN FRANCISCO ALVAREZ CAMPOS, )
ROSALVA GARCIA MARTINEZ,       )
ESTHER IBARRA GARCIA,          )
BRETT DONAVAN BUSSEY,          )
LINDA JEAN FACUNDO,            )
GUMARA CANELA,                 )
DANIEL MERARI CANELA DIAZ, and )
CARLA YVONNE SALIAS            )

           UNITED STATES’ MOTION FOR ADDITIONAL TIME
         TO FILE ITS 404(b) NOTICE AND EXPERT DISCLOSURES

      The United States respectfully moves this Court for an additional sixty days

or until August 14, 2023, to provide its Notice pursuant to Rule 404(b) of the Federal

Rules of Evidence and its expert witness disclosures. Counsel for the United States

has discussed this motion with all parties of record and only counsel for Defendant
     Case 5:21-cr-00009-LGW-BWC Document 607 Filed 06/14/23 Page 2 of 3




Antonio Chavez Ramos objects1 to this motion. Counsel for all other Defendants do

not object to this motion.

       On June 9, 2023, this Court entered an Amended Scheduling and Discovery

Order, doc. 603, that set forth the following deadlines (among others):




       3.     Although this complex case involving twenty-one2 Defendants is

massive, the United States is working with defense counsel to address discovery

issues, factual and legal issues, and potential defenses. At this time, four Defendants

are either set to appear for a change in plea hearing or have already appeared for a

change in plea hearing. In addition, the United States is working with defense

counsel and currently anticipates ten additional Defendants will resolve their cases

pursuant to negotiated plea agreements. The United States further anticipates that


1 At this time, the United States does not anticipate any expert witnesses for Defendant Antonio

Chavez Ramos and the only potential 404(b) evidence applicable to Defendant Antonio Chavez Ramos
relates to his immigration status that is noted in the Indictment. Doc. 3.
2 The indictment charges twenty-four defendants; however, two defendants have not yet been

arraigned and one defendant is deceased.
     Case 5:21-cr-00009-LGW-BWC Document 607 Filed 06/14/23 Page 3 of 3




it will resolve these cases within the next sixty days, which will then eliminate the

need for pretrial motions, expert notices, and 404(b) notices for most Defendants.

      4.     Because the United States expects non-trial dispositions for most

Defendants, the government requests an extension of sixty days or until August 14,

2023, to file its 404(b) and expert notices. If granted, the extension would still allow

sufficient time for defense expert disclosures and pretrial motions by the current

deadline of October 2, 2023. See Doc. 603. The United States respectfully submits

that granting this extension will avoid unnecessary litigation and conserve judicial

resources.

      5.     Therefore, the United States moves this Court to extend its deadline to

August 14, 2023 to file its 404(b) Notice and Expert Disclosures.

                                        JILL E. STEINBERG
                                        UNITED STATES ATTORNEY

                                        /s/ Tania D. Groover

                                        Tania D. Groover
                                        Assistant United States Attorney
                                        Georgia Bar No. 127947

                                        /s/ E. Greg Gilluly, Jr.

                                        E. Greg Gilluly, Jr.
                                        Assistant United States Attorney
                                        Tennessee Bar No. 019397

Post Office Box 8970
Savannah, GA 31412
Telephone Number: 912-652-4422
